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                            UNITED STATES DISTRICT COURT
                        IN THE EASTERN DISTRICT OF MISSOURI


CAROLYN HAWTHORNE,                           )
on behalf of herself and those               )
similarly situated;                          )
                                             )
       Plaintiff,                            )      Case No. 4:23-CV-01711
                                             )
v.                                           )
                                             )      CLASS ACTION COMPLAINT
NORTHVIEW VILLAGE, INC.                      )
d/b/a NORTHVIEW VILLAGE,                     )
HEALTHCARE ACCOUNTING                        )
SERVICES, LLC, and NORTHVIEW                 )
VILLAGE CENTER LIMITED                       )
PARTNERSHIP                                  )      JURY TRIAL DEMANDED
                                             )
      Defendants.                            )
________________________________             )

                                 ENTRY OF APPEARANCE

       COMES NOW Brady L. Root, of Schuchat, Cook & Werner, and enters his appearance on

behalf of Plaintiff Carolyn Hawthorne and a putative class of similarly situated former employees,

in the above-captioned matter.

                                                    Respectfully submitted,

                                                    Schuchat, Cook & Werner

                                                     /s/ Brady L. Root
                                                    Brady L. Root (MBE # 75740)
                                                    555 Washington Avenue,
                                                    St. Louis, MO 63103-2364
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                                                    Counsel for Plaintiff and the
                                                    Proposed Class
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 22, 2024, the foregoing was filed
electronically with the Clerk of Court via the Court’s electronic filing system.


                                                     /s/ Brady L. Root
                                                    Brady L. Root




4878-2727-4408, v. 1
